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14                              UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEVADA
15

16   NEWMARK GROUP INC., G&E                  )
     ACQUISITION COMPANY LLC, and BGC         ) CASE NO.: 2:15–cv–00531–RFB–GWF
17   REAL ESTATE OF NEVADA LLC,               )
                                              )
18                           Plaintiffs,
                                              ) STIPULATION TO EXTEND
     v.
19                                            ) DEADLINES IN JUNE 1, 2020,
     AVISON YOUNG (CANADA) INC., AVISON ) SCHEDULING ORDER (ECF NO.
20   YOUNG (USA) INC., AVISON YOUNG–          ) 378)
21   NEVADA LLC, MARK ROSE, THE NEVADA )
     COMMERCIAL GROUP, JOHN PINJUV,           )
22   JOSEPH KUPIEC, DOES 1 through 5, and ROE )
     BUSINESS ENTITIES 6 through 10.          )
23                                            )
                             Defendants.
24
            Plaintiffs Newmark Group Inc., G&E Acquisition Company LLC, and BGC Real Estate of
25
     Nevada, through their counsel, and Defendants Avison Young (Canada) Inc., Avison Young (USA)
26

27   Inc., Avison Young–Nevada LLC, Mark Rose, Joseph Kupiec, John Pinjuv, and The Nevada

28   Commercial Group, through their counsel (together, the “Parties”), jointly submit the following
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 1   stipulation to extend the deadlines in the scheduling order entered on June 1, 2020 (the “Scheduling
 2   Order”) (ECF No. 378):
 3
            1.      On June 1, 2020, the Court entered the Parties’ Stipulation to Extend Deadlines in
 4
     April 24, 2020, Order (the “Scheduling Order”). (ECF No. 339.)
 5
            2.      At the time the stipulation was entered, Plaintiffs’ Motion for Protective Order (ECF
 6
     No. 298) and Plaintiffs’ Motion to Compel Directed to the AY Defendants, the NCG Defendants,
 7
     and the Third-Party Subpoena Recipients (ECF No. 374 (refiled as ECF No. 395)) were pending
 8

 9   before the Court.

10          3.      At a telephonic hearing on June 10, 2020, the Court heard Plaintiffs’ Motion for

11   Protective Order. (ECF No. 389.)
12          4.      On September 1, 2020, Plaintiffs filed their Motion to Compel the AY Defendants
13   and the NCG Defendants to (I) Search Additional Sources of ESI, (II) Produce “AY University”
14
     Documents, (III) Produce Documents Improperly Included in the AY Defendants’ Clawback
15
     Request, (IV) Produce Documents Improperly Withheld as Privileged, and (V) Provide an
16
     Adequate Forensic Report (the “Motion to Compel Directed to the AY Defendants and NCG
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     Defendants”), which has now been fully briefed and argued. (ECF Nos. 397, 406, 410.)
18
            5.      On September 14, 2020, the Court entered an order on Plaintiffs’ Motion for
19
     Protective Order. (ECF No. 402.)
20

21          6.      At a Zoom hearing on October 13, 2020, the Court entered rulings on Plaintiffs’

22   Motion to Compel Directed to the AY Defendants, the NCG Defendants, and the Third-Party

23   Subpoena Recipients. (ECF No. 414.)
24          7.      On October 28, 2020, Defendants filed their First Motion to Compel directed to
25   Plaintiffs, which has now been fully briefed and argued. (ECF No. 416.) Collectively, Plaintiffs’
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     Motion to Compel Directed to the AY Defendants and NCG Defendants and Defendants’ First
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     Motion to Compel are referred to herein as the “Motions to Compel.” On or about December 16,
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 1   2020, the Court heard oral argument on the Motions to Compel and ordered both parties to produce
 2   additional materials. The Parties have agreed to the following extensions of the deadlines set forth
 3   in the current Scheduling Order:
 4
                    a.     All document productions are to be completed within 60 days of the
 5
                           Court’s entry of an order approving this stipulation.
 6
                    b.     The Parties shall have 30 days after the document-production
 7
                           deadline to review each other’s productions in advance of the
 8
                           remaining depositions in this matter and to coordinate the schedules
 9

10                         of their witnesses in preparation for the depositions. The period for

11                         completing fact depositions will run for 120 days from the deadline

12                         for reviewing document productions.

13                  c.     Initial expert disclosures in accordance with Federal Rule of Civil
14                         Procedure 26 shall be made within 60 days after the deadline for
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                           completing fact depositions. Rebuttal expert disclosures are due 30
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                           days after the deadline for completing initial expert disclosures.
17
                    d.     Expert depositions are to be completed within 30 days after the
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                           deadline for completing rebuttal expert disclosures.
19
                    e.     The deadline for dispositive motions is 45 days after the deadline
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                           for completing expert depositions.
21

22                  f.     The joint pretrial report shall be filed within 60 days after the

23                         Court’s decision on dispositive motions.

24          8.      The Parties do not seek appointment of a Special Master at this time. In the event

25   that a Special Master is later appointed in this case to address any discovery issues, the Parties
26   reserve their rights to have the Special Master review those documents identified by the Court at
27

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 1   the hearing on the Motions to Compel to be submitted (at the moving party’s election) to a Special
 2   Master.
 3          9.      This stipulated extension is requested in good faith and made with good cause. The
 4
     ongoing COVID-19 pandemic has continued to impose significant disruptions to ordinary business
 5
     activities of all Parties and counsel. The Parties have engaged in a collaborative and cooperative
 6
     effort to identify a reasonable time frame to complete discovery. This stipulated extension is not
 7
     intended to delay or inconvenience the Court, but rather seeks to promote judicial economy and
 8
     minimize the need for unnecessary court intervention.
 9

10          10.     The Parties anticipate that this will be the last extension necessary to complete

11   discovery, but out of an abundance of caution, they reserve their rights to request an additional

12   extension of the deadlines set forth above upon a showing of good cause to the Court.

13          11.     The Parties further stipulate that, in lieu of utilizing the ten-deposition limitation
14   reflected in Federal Rule of Civil Procedure 30(a)(1)(A)(i), each side shall have a total of 70 hours
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     to complete fact depositions. Plaintiffs’ 70-hour total shall be reduced by the number of hours
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     already spent on the record to conduct the depositions of John Pinjuv, Barton Hyde, Debra Sinclair,
17
     and David Dworkin. Each party may allocate its time as it sees fit, but no one deposition shall
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     exceed seven hours on the record.
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 1    IT IS SO ORDERED; provided, however, that the parties shall file a status report
 2    within 10 days of the completion of all discovery providing a date certain for
      the filing of dispositive motions, oppositions, and replies.
 3

 4                                                    __________________________________
 5                                                    U.S. MAGISTRATE JUDGE
     Submitted: January 8, 2021                        Dated: January 11, 2021
 6
     Agreed to by:
 7

 8    By:    /s/ Tina B. Solis                         By:    /s/ Nathaniel J. Kritzer

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19
                                                       Group LLC, and John Pinjuv
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